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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

       Plaintiff,

                   v.                           Criminal No. 18-125 (FAB)

CHRISTIAN MALENO-PÉREZ [1],

       Defendant.


                              MEMORANDUM AND ORDER

BESOSA, District Judge.

      Defendant Christian Maleno-Pérez (“Maleno”) moves to compel

the   United   States    to    “fulfill   its    duties   in   bargaining   with

[Maleno] under the authorized plea agreement, and allow [Maleno]

to file his motion for change of plea under such terms.”               (Docket

No. 74.)       For the reasons set forth below, the Court DENIES

Maleno’s motion.

I.    Background

      On March 1, 2018, a federal grand jury returned an indictment

charging Maleno and defendant Rafael A. Gálvez-Vázquez (“Gálvez”)

(collectively, “defendants”) with violating 21 U.S.C. sections 846

and 841(b)(1)(A).       (Docket No. 16.)        In December 2018, the United

States extended a signed plea agreement and plea supplement to the

defendants.     (Docket No. 63.)          On February 11, 2019, March 22,

2019, and May 13, 2019, Maleno requested extensions of time to
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move for a change of plea hearing in order to continue with plea

negotiations.      (Docket Nos. 65, 68, 72.)              The United States did

not oppose Maleno’s requests, and the Court granted Maleno’s

motions, ultimately allowing the defendants until May 20, 2019 to

file motions for change of plea.              (Docket Nos. 66, 68, 73.)

      On May 14, 2019, the United States “unilaterally withdrew the

plea agreement tendered, without prior notice.”                   (Docket No. 74 at

p.   3.)      According    to      the    United     States,      the    “same    plea

agreement/supplement       remained       standing    and    available      to    both

defendants until the new change of plea deadline of May 20, 2019,

but this time as a package deal plea.”               (Docket No. 82 at p. 4.)

“[T]he Government informed defense counsels [sic] that the same

terms and conditions remained in place if both defendants decided

to enter a guilty plea either as a straight plea or pursuant to

the plea agreement.”       Id. 1

      On May 17, 2019, Maleno moved “to compel the Government to

fulfill     its   duties   in      bargaining      with   defendant       under    the

authorized plea agreement and allow defendant to file his motion

for change of plea under such terms by May 20, 2019, the date set

by the Court.”       (Docket No. 74 at p. 4.)               Maleno contends that

“[t]he     plea   agreement     had      no   deadline,     and    the    Government


1 According to the United States, counsel for Gálvez notified the United States
earlier on May 14, 2019 that “his client would stand trial.” (Docket No. 82 at
p. 4.)
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established   no   deadline    outside   the   plea   agreement.”        Id.

According to Maleno, the “Government did not object to [the]

Court’s deadlines for change of plea, as plea negotiations were

ongoing,” and “[t]hroughout plea negotiations, verbally and in

writing the Government was advised that defendant Maleno was not

going to trial.”    Id.

II.   Legal Standard

      Plea agreements are “subject to contract principles.”            United

States v. Papaleo, 853 F.2d 16, 19 (1st Cir. 1988) (citing cases).

Absent explicit promissory language of bilateral promises, a plea

agreement is “no more than an offer by the government: if the

defendant pleads guilty and if that plea is accepted by the court,

then the government will perform as stipulated in the agreement.”

Id. at 20; see United States v. Díaz-Colón, 794 F. Supp. 2d 353,

354 (D.P.R. 2011) (Besosa, J.) (“Like the plea agreement at issue

in Papaleo, the plea agreement between defendant Díaz and the

government did not contain bilateral promises or an explicit

promise by Díaz to do anything—thus, it must be construed as an

offer by the government for a unilateral contract.”).         “Therefore,

until the defendant actually performs by entering his change of

plea and the Court accepts such plea, either party, including the

government, is free to withdraw from the plea agreement.”              Díaz-

Colón, 794 F. Supp. 2d at 354 (citing Papaleo, 853 F.2d at 20; In
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re People of Virgin Islands, 51 V.I. 374, 388 (2009) (“[A] plea

agreement, as a unilateral contract, cannot become binding on the

parties through the defendant’s mere promise of performance but by

the defendant’s actual performance—a change of plea to guilty.”)).

III. Discussion

     Because there is no evidence that the plea agreement between

the United States and Maleno involved explicit promissory language

of bilateral promises, the plea agreement is “no more than an offer

by the government” for a “unilateral contract.”        Papaleo, 853 F.2d

at 20; Díaz-Colón, 794 F. Supp. 2d at 354.       Until Maleno “actually

performs by entering his change of plea and the Court accepts such

plea, either party, including the government, is free to withdraw

from the plea agreement.”       Díaz-Colón, 794 F. Supp. 2d at 354

(citing Papaleo, 853 F.2d at 20; In re People of Virgin Islands,

51 V.I. at 388).    Maleno has not changed his plea, nor has the

plea agreement been adopted by the Court.      Accordingly, the United

States is free to withdraw the plea agreement.         See Papaleo, 853

F.2d at 20; Díaz-Colón, 794 F. Supp. 2d at 354.

     Maleno’s constitutional arguments are unavailing.         While “the

process of plea bargaining in and of itself” is “an essential

component of the administration of justice,” plea bargaining is

“without constitutional significance.”        Díaz-Colón, 794 F. Supp.

2d at 355 (citing Mabry v. Johnson, 467 U.S. 504, 507 (1984);
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Santobello v. New York, 404 U.S. 257, 260 (1971)).                    The United

States’ withdrawal of a plea agreement, “until embodied in the

judgment of a court, does not deprive an accused of liberty or any

other   constitutionally      protected    interest.”        Mabry,    467   U.S.

at 507.     “[T]he mere fact that the parties were in negotiations of

a plea agreement, without actual performance by defendant, does

not create a ‘constitutional right to have that bargain enforced.’”

Díaz-Colón, 794 F. Supp. 2d at 355 (citing Papaleo, 853 F.2d

at 19). 2    Because Maleno did not perform by changing his plea to

guilty and the Court did not approve any such plea, the United

States did not violate Maleno’s constitutional or contractual

rights by withdrawing its offer for a unilateral contract.                   See

Díaz-Colón, 794 F. Supp. 2d at 355.

IV.   Conclusion

      For the reasons set forth above, Maleno’s motion to compel

the   United   States   to   “fulfill    its   duties   in   bargaining      with

[Maleno] under the authorized plea agreement, and allow [Maleno]




2 But see Díaz-Colón, 794 F. Supp. 2d at 355 (quoting Papaleo, 853 F.2d at 18)
(“An exception to this general rule that could make a promise by the government
enforceable before the entry of a guilty plea is if ‘the defendant detrimentally
relies upon the government’s promise.’”).         Maleno, however, alleges no
detrimental reliance on the United States’ plea agreement, and the Court finds
no such reliance to exist. See Papaleo, 853 F.2d at 18-19 (finding that where
the defendant “did not enter a guilty plea, did not forgo a jury trial on any
charge, and did not otherwise detrimentally rely on the government’s promise to
drop two charges,” he was “in no worse position than if no offer had ever been
made by the government”).
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to file his motion for change of plea under such terms” is DENIED.

(Docket No. 74.)

     Because defendant Rafael A. Gálvez-Vázquez is a fugitive, the

government is now free to offer defendant Maleno the plea agreement

originally offered.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, July 10, 2019.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
